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12                           UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                No. CR 17-00018-CAS-1

15              Plaintiff,                    GOVERNMENT’S OPPOSITION TO
                                              DEFENDANT’S MOTION IN LIMINE TO
16                    v.                      EXCLUDE CONTRABAND

17   JOSE ARVISO,                             Hearing Date: December 20, 2021
                                              Hearing Time: 1:00 p.m.
18              Defendant.                    Location:     Video Teleconference
                                                            Before the Hon.
19                                                          Christina A. Snyder

20

21         Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Anna P. Farias-
24   Eisner and Maria Jhai, hereby files its Opposition to Defendant’s
25   Motion in Limine to Exclude Contraband.         (Dkt. 239.)
26   //
27   //
28   //
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1          This Opposition is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4     Dated: December 13, 2021             Respectfully submitted,

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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2       I.       INTRODUCTION

3            On December 1, 2021, defendant Jose Arviso (“defendant”) filed a

4    Motion in Limine to Exclude Contraband (Dkt. No. 239, “Def. MIL

5    No. 2”). 1     The methamphetamine seized from defendant on March 25,

6    2016, will be properly authenticated and identified by lay and expert

7    witnesses who will lay the proper foundation and testify to the

8    nature and preservation of the methamphetamine, and defendant’s

9    objections are therefore premature.        Additionally, because the record
10   is devoid of any evidence either that the methamphetamine was
11   tampered with or to overcome the presumption that the law enforcement
12   officers properly discharged their official duties in handling the
13   evidence, the methamphetamine is admissible.          Defendant’s motion
14   should be denied.
15      II.      STATEMENT OF FACTS
16           As discussed in more detail in the government’s opposition to
17   Def. MIL No. 1, on March 25, 2016, defendant and his co-defendants,
18   who have since plead guilty to the charged crimes, were arrested

19   pursuant to outstanding arrest warrants.         Upon arrest, defendant was

20   found in possession of approximately 58.165 grams of pure

21   methamphetamine, a loaded Smith and Wesson pistol, approximately $289

22   in cash, a Dodger Challenger car key, and additional incriminating

23   evidence related to the charged crimes in the First Superseding

24   Indictment.      Defendant has already pled guilty to all charges in the

25   First Superseding Indictment except for Count Eight: possession with

26

27          Defendant also filed a Motion in Limine to Exclude LAPD
             1
     Officers from Testifying Re: Probable Cause (Dkt. 238, “Def. MIL
28   No. 1”), which the government opposes in a separate filing.
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1    intent to distribute methamphetamine, in violation of 21 U.S.C.

2    §§ 841(a)(1), (b)(1)(A)(viii).       A trial is set for January 11, 2022,

3    against defendant for Count Eight.

4       III. ARGUMENT

5          Defendant moves to “exclude[e] any evidence related to the

6    contraband seized and contributed to Mr. Arviso” because defendant

7    claims that the government “cannot authenticate the alleged drugs

8    seized” and “cannot establish change in custody.”         2   (Def. MIL No. 2,

9    at 1, 3.) 3    Defendant’s motion should be denied because the physical
10   evidence of methamphetamine will be properly authenticated through
11   lay and expert testimony, because his objection is premature, and
12   because there is no evidence on the record suggesting that the chain
13   of custody has been tampered.
14         A.      Lay and Expert Witnesses will Lay the Proper Foundation and
                   Properly Authenticate the Methamphetamine
15

16         The methamphetamine seized from defendant on March 25, 2016,
17   will be properly authenticated and identified through lay and expert
18

19         2Defendant states that his “motion is based on Fed. R. Evid.
     401–403, 801–803 and 901, the Sixth Amendment Confrontation Clause,
20   Defendants’ presumption of innocence, and the fact that the hearsay-
     reliant testimony constitutes impermissible vouching.” (Def. MIL
21   No. 2, at 1.) However, nowhere else in his motion does he explain
     how Federal Rules of Evidence 401–403 and 801–803, the Sixth
22   Amendment Confrontation Clause, the presumption of innocence, or
     vouching are at all applicable to his Rule 901 motion. Accordingly,
23   defendant fails to properly raise these arguments and his motion on
     these bases should be summarily denied.
24
           3In Sections I(A), (B), and (C) of his motion, defendant also
25   repeats the same arguments raised in Def. MIL No. 1, arguing to
     exclude LAPD officers’ testimony because they are “not percipient
26   witnesses to probable cause of any of the allegations” and claiming
     that the government failed to produce CDCR reports. (Def. MIL No. 2,
27   at 4–6.) Because these arguments relate to Def. MIL No. 1, the
     government does not discuss them herein and opposes these arguments
28   in its concurrently filed opposition to Def. MIL No. 1.

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1    testimony at trial. 4    Federal Rule of Evidence 901(a) provides that

2    “[t]o satisfy the requirement of authenticating or identifying an

3    item of evidence, the proponent must produce evidence sufficient to

4    support a finding that the item is what the proponent claims it is.”

5    Under Rule 901(a), evidence should be admitted, despite any

6    challenge, once the government makes a prima facie showing of

7    authenticity or identification so “that a reasonable juror could find

8    in favor of authenticity or identification . . . [because] the

9    probative force of the evidence offered is, ultimately, an issue for
10   the jury.”    United States v. Chu Kong Yin, 935 F.2d 990, 996 (9th
11   Cir. 1991) (citations and internal quotation marks omitted); see also

12   United States v. Gadson, 763 F.3d 1189, 1204 (9th Cir. 2014).

13         This requirement “‘does not erect a particularly high hurdle,’

14   and the proponent of the evidence is not required ‘to rule out all

15   possibilities inconsistent with authenticity, or to prove beyond any

16   doubt that the evidence is what it purports to be.’”           United States

17   v. Dhinsa, 243 F.3d 635, 658 (2d Cir. 2001) (citations omitted).                The

18   authenticity of proposed exhibits may be proven by circumstantial

19   evidence.    See United States v. King, 472 F.2d 1, 9-11 (9th Cir.

20   1972).    If the government makes the prima facie showing of

21   authenticity, the Court should admit the evidence.           See Yin, 935 F.2d

22   at 996; United States v. Black, 767 F.2d 1334, 1342 (9th Cir. 1985).

23

24

25         4To the extent that defendant argues to exclude any evidence
     (other than the methamphetamine) seized from defendant and his co-
26   conspirators on March 25, 2016, this argument should also be denied
     as meritless. As addressed in the government’s opposition to Def.
27   MIL No. 1, the evidence seized from defendant and his co-conspirators
     on March 25, 2016, is inextricably intertwined with the illegal
28   conduct of possessing with intent to distribute methamphetamine and
     thus is admissible.
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1    The credibility or probative force of the evidence offered is

2    ultimately an issue for the trier of fact.         Yin, 935 F.2d at 996.

3          Rule 901(b) provides specific examples but clarifies that it is

4    “not a complete list.”      The examples include testimony of a witness

5    with knowledge that the “item is what it is claimed to be,” and a

6    comparison with an authenticated specimen by an expert witness.             Fed.

7    R. Evid. 901(b)(1), (3).      Authentication “can be accomplished without

8    the direct testimony of either a custodian or percipient witness.”

9    United States v. Paulino, 13 F.3d 20, 23 (1st Cir. 1994).
10         Here, the government anticipates calling Los Angeles Police

11   Department (“LAPD”) Crime Impact Team (“CIT”) Officer Manuel Mejia to

12   testify as a lay witness (see Gov. Opp. to Def. MIL No. 1 regarding

13   admissibility of lay witness testimony) that, inter alia, he seized

14   the methamphetamine from defendant’s black and purple satchel on

15   March 25, 2016.     Furthermore, the government intends to call Forensic

16   Chemist Kimberlie Ross to provide expert testimony regarding her

17   analysis of the drugs and her opinion that the drugs seized from

18   defendant on March 25, 2016, consists of approximately 58.165 grams

19   of pure methamphetamine.      This evidence overcomes the low hurdle for

20   the government establishing its prima facie case of authenticity or

21   identification and thus the evidence is admissible under Rule 901.

22         B.    The Methamphetamine has a Proper Chain of Custody

23         Defendant’s challenges to the chain of custody of the

24   methamphetamine seized from defendant on March 25, 2016, are

25   meritless.    Federal Rule of Evidence 901(a) provides that “[t]o

26   satisfy the requirement of authenticating or identifying an item of

27   evidence, the proponent must produce evidence sufficient to support a

28   finding that the item is what the proponent claims it is.”            Fed. R.

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1    Evid. 901(a).    Rule 901(a) only requires the government to make a

2    prima facie showing of authenticity or identification “so that a

3    reasonable juror could find in favor of authenticity or

4    identification.”     Yin, 935 F.2d at 996 (quoting United States v.

5    Blackwood, 878 F.2d 1200, 1202 (9th Cir. 1989) (per curiam)).             Once

6    the government meets this burden, “the credibility or probative force

7    of the evidence offered is, ultimately, an issue for the jury.”

8    Black, 767 F.2d at 1342.

9          To be admitted into evidence, a physical exhibit must be in
10   substantially the same condition as when the crime was committed.
11   Fed. R. Evid. 901.     The Court may admit the evidence if there is a
12   “reasonable probability the article has not been changed in important
13   respects.”    United States v. Harrington, 923 F.2d 1371, 1374 (9th
14   Cir. 1991) (quoting Gallego v. United States, 276 F.2d 914, 917 (9th

15   Cir. 1960)).    Factors the Court may consider in making this

16   determination include the nature of the item, the circumstances

17   surrounding its preservation, and the likelihood of intermeddlers

18   having tampered with it.      Gallego, 276 F.2d at 917.

19         In establishing chain of custody as to an item of physical

20   evidence, the government is “not required to call the custodian of

21   the evidence.”     Harrington, 923 F.2d at 1374.        Furthermore, “[t]here

22   is no rule requiring the prosecution to produce as witnesses all

23   persons who were in a position to come into contact with the article

24   sought to be introduced in evidence.”           Gallego, 276 F.2d at 917.

25   Rather, a presumption of regularity exists in the handling of

26   exhibits by public officials.       Id.       In the absence of evidence of

27   tampering, there is a presumption that public officers have properly

28   discharged their official duties.         Id.    Therefore, to the extent that

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1    alleged or actual gaps in the chain of custody exist, such gaps go to

2    the weight of the evidence rather than to its admissibility.

3    Harrington, 923 F.2d at 1374.

4          Here, based on the nature and preservation of the

5    methamphetamine and the lack of any evidence suggesting it was

6    tampered with, it is admissible.        Moreover, as discussed above, the

7    government will establish the authenticity and identification of the

8    methamphetamine at trial through LAPD Officer Mejia’s lay testimony

9    and Forensic Chemist Ross’s expert testimony.          This is more than
10   sufficient to lay the proper foundation to admit this evidence at
11   trial.
12         Defendant argues that the government cannot authenticate or

13   explain the chain of custody because the property report “has clearly

14   crossed out the name of Arviso and replaced it with Olivia Uribe.”

15   (Def. MIL No. 2, at 2.)      First, this is irrelevant to proving a

16   “reasonable probability the article has not been changed in important

17   respects.”    Gallego, 276 F.2d at 917.       Regardless, the government

18   expects that LAPD Officer John Hackman, who booked the

19   methamphetamine into evidence, will testify that all the evidence

20   seized on March 25, 2016, including from defendant, co-defendant

21   Uribe, and co-defendant Cobarrubias was booked under the file name

22   “Uribe.”    Defendant fails to provide any evidence contesting the

23   nature and integrity of the methamphetamine nor to suggest that the

24   methamphetamine was tampered with in anyway.          Nor can he.    The

25   testimony will be clear that the 58.165 grams of pure methamphetamine

26   seized from defendant’s black and purple satchel were attributable

27   only to defendant and not to the other co-defendants.           Even if there

28   were any gaps in the chain of custody (there were not), it would go

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1    to the weight of the evidence, not to its admissibility.

2    Accordingly, the authentication, foundation, nature, preservation,

3    and lack of tampering with the methamphetamine establish that the

4    chain of custody is proper, and the evidence is admissible.

5       IV.    CONCLUSION

6          For these reasons, defendant’s motion in limine should be

7    denied.

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